Debt on a bond for $297, in which the pleas were non est factum andusury. Upon the issues the jury gave a verdict for the plaintiff, and assessed his damages by way of interest to $32.62. The defendants moved the court for a new trial, which was refused, and there was then judgment for the plaintiff for his debt and damages as aforesaid, and *Page 205 
the defendant appealed therefrom The record contains no bill of exceptions to any opinion of the court trying the cause, nor any statement of the occurrences at the trial, except the verdict and judgment, as just stated.
It has often been decided by this Court that every judgment is presumed to be right, unless it appear to be erroneous, and that it is the duty of the appellant to have the matter stated on the record, upon which he insists there is error, else the judgment must be affirmed as a matter of course. No error thus appearing to have been committed at the trial, and none being seen in the pleadings or record, properly so speaking, we suppose the appeal was merely for delay. At all events, there seems to be no ground for reversing the judgment, and therefore it is affirmed.
PER CURIAM.                                                Affirmed.
Cited: Brown v. Kyle, 47 N.C. 443; Turner v. Foard, 83 N.C. 683;Chasteen v. Martin, 84 N.C. 395; Mott v. Ramsay, 90 N.C. 30.
(269)